Case 1:19-bk-11123       Doc 25     Filed 07/11/19 Entered 07/12/19 16:05:39             Desc Main
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States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: July 11, 2019



________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 In Re                                           )
                                                 )
 DAVID L. BAUCOM                                 )    Case No. 19-11123
 REGINA K. BAUCOM                                )    Chapter 13
                                                 )    Judge Buchanan
                        Debtor(s)                )

     ORDER TO FILE SUPPLEMENT REGARDING APPLICATION TO EMPLOY
                          [Docket Number 18]

      This matter is before this Court on the Trustee’s Application to Employ BK Global and
Comey & Shepard as Realtor [Docket Number 18] (the “Application”).

       By the Application, the Trustee seeks to employ BK Global Real Estate Services
(“BKRES”) and Comey & Shepherd to sell certain real property. The Application, however,
lacks the required supporting documentation. Specifically, the affidavits of disinterest, the
BKRES agreement and the Comey & Shepherd listing agreement are missing.

       Accordingly, the Trustee shall file the affidavit of disinterest and the BKRES fee and listing
agreement within fourteen (14) days of the entry date of this order, or the Application may
be denied without further notice.

         SO ORDERED.

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